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United States Attorney
District of Maryland
Northern Division

 

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19 August 2008
Kenneth W. Ravenell, Esquire
The Murphy Law Firm
One South Street ———_ FILED ENTERED
a3 Floor — lf" ian PAYER
Baltimore, Maryland 21202 DEC 49 2008
Re: United States v. Marqui Jackson cunen he CASTE? coun
AMD-08-093 ay DISTRICT OF MARYLAND —

Dear Mr. Ravenell:

This letter, together with the Sealed Supplement, confirms the plea agreement which has
been offered to the Defendant by the United States Attorney’s Office for the District of Maryland
(“this Office”). If the Defendant accepts this offer, please have him execute it in the spaces
provided below. If this offer has not been accepted by August 29, 2008, it will be deemed
withdrawn. The terms of the agreement are as follows:

Offense of Conviction

1. The Defendant agrees to plead guilty to Count One of the Indictment now
pending against him, which charges him with Possession with the Intent to Distribute more than
five kilograms of cocaine, a Schedule II controlled substance, in violation of 21 U.S.C. 841(a)(1).
The Defendant admits that he is, in fact, guilty of that offense and will so advise the Court.

The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C) that a
sentence of 120 months, is the appropriate disposition of this case. This agreement does not
affect the Court’s discretion to impose any lawful term of supervised release or fine or to set any
lawful conditions of probation or supervised release. In the event that the Court rejects this plea
agreement, either party may elect to declare the agreement null and void. Should the Defendant
so elect, he will be afforded the opportunity to withdraw his plea pursuant to the provisions of
Federal Rule of Criminal Procedure 11(c)(5).
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Elements of the Offense

2. The elements of the offense to which the Defendant has agreed to plead
guilty, and which this Office would prove if the case went to trial, are as follows:

THAT, in the District of Maryland, on the date of February 20, 2008, the
Defendant did knowingly and unlawfully possess more than five kilograms of a mixture or
substance containing a detectable amount of cocaine, a Schedule II controlled substance.
THAT, the Defendant possessed the cocaine with the intent to distribute that
controlled substance.

Penalties

3. The maximum sentence provided by statute for the offense to which the
Defendant is pleading guilty is as follows: Not less than ten years incarceration nor more than life
incarceration, followed by a term of supervised release of up to five years and a possible fine of
up to $4,000,000. In addition, the Defendant must pay $100 as a special assessment pursuant to
18 U.S.C. § 3013, which will be due and should be paid at or before the time of sentencing. This
Court may also order him to make restitution pursuant to 18 U.S.C. §§ 3663, 3663A, and 3664.!
If a fine or restitution is imposed, it shall be payable immediately, unless, pursuant to 18 U.S.C. §
3572(d), the Court orders otherwise. The Defendant understands that if he serves a term of
imprisonment, is released on supervised release, and then violates the conditions of his
supervised release, his supervised release could be revoked - even on the last day of the term -
and the Defendant could be returned to custody to serve another period of incarceration and a
new term of supervised release. The Defendant understands that the Bureau of Prisons has sole
discretion in designating the institution at which the Defendant will serve any term of
imprisonment imposed.

Waiver of Rights

4. The Defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

a. If the Defendant had persisted in his plea of not guilty, he would have
had the right to a speedy jury trial with the close assistance of competent counsel. That trial could
be conducted by a judge, without a jury, if the Defendant, this Office, and the Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of
twelve individuals selected from the community. Counsel and the Defendant would have the

 

1 Pursuant to 18 U.S.C. § 3612, if the Court imposes a fine in excess of $2,500 that
remains unpaid 15 days after it is imposed, the Defendant shall be charged interest on that fine,
unless the Court modifies the interest payment in accordance with 18 U.S.C. § 3612(f)(3).

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opportunity to challenge prospective jurors who demonstrated bias or who were otherwise
unqualified, and would have the opportunity to strike a certain number of jurors peremptorily. All
twelve jurors would have to agree unanimously before the Defendant could be found guilty of any
count. The jury would be instructed that the Defendant was presumed to be innocent, and that
presumption could be overcome only by proof beyond a reasonable doubt.

Cc. If the Defendant went to trial, the government would have the burden
of proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the government’s witnesses. The Defendant would not have to present
any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in his
defense, however, he would have the subpoena power of the Court to compel the witnesses to attend.

d. The Defendant would have the right to testify in his own defense if he
so chose, and he would have the right to refuse to testify. If he chose not to testify, the Court could
instruct the jury that they could not draw any adverse inference from his decision not to testify.

é. If the Defendant were found guilty after a trial, he would have the right
to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges against
him. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the
Court’s decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that he may have to
answer the Court’s questions both about the rights he is giving up and about the facts of his case.
Any statements the Defendant makes during such a hearing would not be admissible against him
during a trial except in a criminal proceeding for perjury or false statement.

g. If the Court accepts the Defendant’s plea of guilty, there will be no
further trial or proceeding of any kind, and the Court will find him guilty.

h. By pleading guilty, the Defendant will also be giving up certain
valuable civil rights and may be subject to deportation or other loss of immigration status.

Advisory Sentencing Guidelines Apply

oe The Defendant understands that the Court will determine a sentencing
guidelines range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing
Reform Act of 1984 at 18 U.S.C. §§ 3551-3742 (excepting 18 U.S.C. §§ 3553(b)(1) and 3742(e))
and 28 U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose
a sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

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Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant understand, agree and stipulate to the following
Statement of Facts which this Office would prove beyond a reasonable doubt, and to the following
applicable sentencing guidelines factors:

On February 21, 2008, Detectives from Maryland Delivery Systems Parcel
Interdiction along with Task Force Officers from the Drug Enforcement
Administration HIDTA Group assisted in the controlled delivery of two parcels
addressed to “Simply Good Catering”, 9917 Reisterstown Road, Baltimore,
Maryland. The parcels had been seized in the State of Ohio on February 20, 2008
after DEA HIDTA Task Force Officers obtained a search warrant for the two parcels.
The parcels were opened upon execution of the warrant and the parcels contained
computer towers with a large amount of cocaine powder secreted inside the computer
towers. During the controlled delivery to 9917 Reisterstown Road, detectives posing
as delivery personnel were met by the Defendant, Marqui Jackson at the address. Mr.
Jackson accepted and signed for the first package, stating there should be another
package. The delivery person handed the second package to Mr. Jackson. An arrest
team identifying themselves as Law Enforcement Officers, approached Mr. Jackson
who attempted to flee through a side entrance to where he had a vehicle parked. Mr.
Jackson was placed under arrest. The items seized were submitted to the Mid-
Atlantic Laboratory and found to be a total of 17,078.01 grams of cocaine
hydrochloride, a Schedule II controlled substance. A total of $67, 386.00 was seized
from the Toyota vehicle the Defendant was operating. An additional $1,650 was
seized from Defendant and $6,022 from a bank account held by Defendant and
located at Bank of America. The facts and circumstances along with the amount of
cocaine, in excess of seventeen kilograms, indicates and Defendant admits that he
possessed the cocaine on that date with the intent to distribute that controlled
substance. All of these events occurred in the District of Maryland.

Guidelines Stipulation

The parties agree that pursuant to U.S.S.G. §2D1.1(3), since the offense involves at least
15 kilograms but less than 50 kilograms of cocaine, the Base Offense Level is Level 34. The
parties agree that the Defendant has been convicted of Possession with the intent to distribute a
controlled substance in case number 20229400. The resulting advisory guidelines prior to any
adjustments or departures are 151-188 months. There is no agreement as to the criminal history
of Defendant. The parties further agree that the appropriate sentence is 120 months.

This Office does not oppose a two-level reduction in the Defendant’s adjusted offense
level, based upon the Defendant’s apparent prompt recognition and affirmative acceptance of
personal responsibility for his criminal conduct. This Office agrees to make a motion pursuant to
U.S.S.G. § 3E1.1(b) for an additional one-level decrease in recognition of the Defendant’s timely
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notification of his intention to plead guilty. This Office may oppose any adjustment for
acceptance of responsibility if the Defendant (a) fails to admit each and every item in the factual
stipulation; (b) denies involvement in the offense; (c) gives conflicting statements about his
involvement in the offense; (d) is untruthful with the Court, this Office, or the United States
Probation Office; (e) obstructs or attempts to obstruct justice prior to sentencing; (f) engages in
any criminal conduct between the date of this agreement and the date of sentencing; or (g)
attempts to withdraw his plea of guilty.

7. The Defendant understands that there is no agreement as to his criminal
history or criminal history category, and that his criminal history could alter his offense level if
he is a career offender or if the instant offense was a part of a pattern of criminal conduct from
which he derived a substantial portion of his income.

8. This Office and the Defendant agree that with respect to the calculation of
the advisory guidelines range and application of the 18 U.S.C. § 3553(a) factors, no other
offense characteristics, sentencing guidelines factors, potential departures or adjustments set
forth in the United States Sentencing Guidelines or in 18 U.S.C. § 3553(a) will be raised or are in
dispute.

Obligations of the United States Attorney’s Office

9. At the time of sentencing, this Office will recommend a sentence within the
advisory guidelines range. At the time of sentencing, this Office will move to dismiss any open
counts against the Defendant.

10. The parties reserve the right to bring to the Court’s attention at the time of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
Defendant’s background, character and conduct, including the conduct that is the subject of the
counts of the Indictment that this Office has agreed to dismiss at sentencing.

Waiver of Appeal

11. | The Defendant and this Office knowingly and expressly waive all rights
conferred by 18 U.S.C. § 3742 to appeal whatever sentence is imposed, including any fine, term of
supervised release, or order of restitution and any issues that relate to the establishment of the
advisory guidelines range, as follows: the Defendant waives any right to appeal from any sentence
within or below the advisory guidelines range resulting from Criminal History Category I and an
adjusted base offense level of 34, and this Office waives any right to appeal from any sentence within
or above the advisory guidelines range resulting from Criminal History Category I and an adjusted
base offense level of 31. Nothing in this agreement shall be construed to prevent either the
Defendant or this Office from invoking the provisions of Federal Rule of Criminal Procedure 35(a),
and appealing from any decision thereunder, should a sentence be imposed that is illegal or that
exceeds the statutory maximum allowed under the law or that is less than any applicable statutory
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mandatory minimum provision. The Defendant waives any and all rights under the Freedom of
Information Act relating to the investigation and prosecution of the above-captioned matter and
agrees not to file any request for documents from this Office or any investigating agency.

Obstruction or Other Violations of Law

12. The Defendant agrees that he will not commit any offense in violation of
federal, state or local law between the date of this agreement and his sentencing in this case. In the
event that the Defendant (i) engages in conduct after the date of this agreement which would justify
a finding of obstruction of justice under U.S.S.G. § 3C1.1, or (ii) fails to accept personal
responsibility for his conduct by failing to acknowledge his guilt to the probation officer who
prepares the Presentence Report, or (iii) commits any offense in violation of federal, state or local
law, then this Office will be relieved of its obligations to the Defendant as reflected in this
agreement. Specifically, this Office will be free to argue sentencing guidelines factors other than
those stipulated in this agreement, and it will also be free to make sentencing recommendations other
than those set out in this agreement. As with any alleged breach of this agreement, this Office will
bear the burden of convincing the Court of the Defendant’s obstructive or unlawful behavior and/or
failure to acknowledge personal responsibility by a preponderance of the evidence. The Defendant
acknowledges that he may not withdraw his guilty plea because this Office is relieved of its
obligations under the agreement pursuant to this paragraph.

Court Not a Party

13. The Defendant expressly understands that the Court is not a party to this
agreement. In the federal system, the sentence to be imposed is within the sole discretion of the
Court. In particular, the Defendant understands that neither the United States Probation Office nor
the Court is bound by the stipulation set forth above, and that the Court will, with the aid of the
Presentence Report, determine the facts relevant to sentencing. The Defendant understands that the
Court cannot rely exclusively upon the stipulation in ascertaining the factors relevant to the
determination of sentence. Rather, in determining the factual basis for the sentence, the Court will
consider the stipulation, together with the results of the presentence investigation, and any other
relevant information. The Defendant understands that the Court is under no obligation to accept this
Office’s recommendations, and the Court has the power to impose a sentence up to and including
the statutory maximum stated above. The Defendant understands that if the Court ascertains factors
different from those contained in the stipulation set forth above, or if the Court should impose any
sentence up to the maximum established by statute, the Defendant cannot, for that reason alone,
withdraw his guilty plea, and will remain bound to fulfill all of his obligations under this agreement.
The Defendant understands that neither the prosecutor, his counsel, nor the Court can make a binding
prediction, promise, or representation as to what guidelines range or sentence the Defendant will
receive. The Defendant agrees that no one has made such a binding prediction or promise.

Entire Agreement
14. This letter supersedes any prior understandings, promises, or conditions

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between this Office and the Defendant and, together with the Sealed Supplement, constitutes the
complete plea agreement in this case. The Defendant acknowledges that there are no other
agreements, promises, undertakings or understandings between the Defendant and this Office other
than those set forth in this letter and the Sealed Supplement and none will be entered into unless in
writing and signed by all parties.

If the Defendant fully accepts each and every term and condition of this agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Rod J. Rosenstein
United States Attorney

A. David COppéfthite
Assistant United States Attorney

I have read this agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it, and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney, and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.

Date Marqui Jacksén oe

I am Marqui Jackson’s attorney. I have carefully reviewed every part of this agreement,
including the Sealed Supplement, with him. He advises me that he understands and accepts its
terms. To my knowledge, his decision to enter. Le. agreement is an informed and voluntary one.

D

ate Kenneth W. Ravenell, Esquire

 
